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     Assistant Federal Defender
3    2300 Tulare Street, Suite 330
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4    Telephone: (559) 487-5561
5    Attorney for Defendant
     VICTOR SOLANO
6
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )               NO. 1:05-0102 OWW
                                           )
12                     Plaintiff,          )               STIPULATION TO CONTINUE STATUS
                                           )               CONFERENCE HEARING; AND ORDER
13         v.                              )               THEREON
                                           )
14   SANH CHAN THAI, etc., et al.,         )               Date: October 11, 2005
                                           )               Time: 1:30 p.m.
15                     Defendants.         )               Judge: Hon. Oliver W. Wanger
     _____________________________________ )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto and through their respective
18   attorney of record herein, that the Status Conference Hearing scheduled for August 29, 2005 is hereby
19   continued to October 11, 2005 at 1:30 p.m.
20          The parties agree that the delay resulting from the continuance shall be excluded in the interests of
21   justice, including but not limited to, the need for the period of time set forth herein for effective defense
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 1:05-cr-00102-OWW Document 24 Filed 08/26/05 Page 2 of 2


1    preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A) and 3161(h)(B)(iv).
2            DATED: August 25, 2005                            MCGREGOR W. SCOTT
                                                               United States Attorney
3
4
                                                               /s/ Jonathan B. Conklin
5                                                              JONATHAN B. CONKLIN
                                                               Assistant U.S. Attorney
6                                                              Attorney for Plaintiff
7
             DATED: August 25, 2005
8
9                                                              /s/ Stephen Mensel
                                                               STEPHEN MENSEL
10                                                             Attorney for Defendant
                                                               SANH CHAN THAI
11
12           DATED: August 25, 2005                            QUIN DENVIR
                                                               Federal Defender
13
14
                                                               /s/ Mark A. Lizárraga
15                                                             MARK A. LIZÁRRAGA
                                                               Assistant Federal Defender
16                                                             Attorney for Defendant
                                                               VICTOR SOLANO
17
18           DATED: August 25, 2005                            LAW OFFICE OF PATIENCE MILROD
19
                                                               /s/ Patience Milrod
20                                                             PATIENCE MILROD
                                                               Attorney for Defendant
21                                                             JUN GAO
22                                                 ORDER
23           IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C. §§
24   3161(h)(8)(A) and 3161(h)(B)(iv).
25           DATED: August __25___, 2005
                                                        /S/OLIVER W. WANGER
26                                                      ______________________________
                                                        OLIVER W. WANGER
27                                                      U.S. District Court Judge for the
                                                        Eastern District of California
28


     Stipulation to Continue Status Conference          2
